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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

ST. LUKE’S HEALTH SYSTEM, LTD.,                     Case No. 1:25-cv-00015-DKG

                   Plaintiff,                       MOTION TO EXPEDITE
                                                    CONSIDERATION OF ST. LUKE’S
       v.                                           HEALTH SYSTEM’S MOTION FOR
                                                    PRELIMINARY INJUNCTION
RAÚL LABRADOR, Attorney General of the
State of Idaho,

                   Defendant.


       Pursuant to District of Idaho Local Rule 6.1 and Federal Rule of Civil Procedure 6(c)(1)(C),

St. Luke’s Health System, Ltd., respectfully requests expedited treatment of its Motion for

Preliminary Injunction. Under these rules, the Court may, for good cause shown, shorten the time

period for responding to a motion. Good cause exists here. St. Luke’s anticipates that the incoming

PLAINTIFF’S MOTION TO EXPEDITE - 1
administration may shift its legal position and/or dismiss United States v. Idaho, No. 22-cv-329.

Absent expedited consideration of St. Luke’s Motion for Preliminary Injunction, such dismissal

would allow Idaho Code § 18-622 to go fully into effect. As detailed in Plaintiff’s Motion and the

accompanying Declaration of Doctor Stacy Seyb, the last time Idaho’s law was not subject to a

limiting injunction prohibiting its enforcement to the extent it conflicts with EMTALA, St. Luke’s

was forced to airlift pregnant patients with medical emergencies out of state for care on a regular

basis. The impending expiration of a preliminary injunction that has forestalled such irreparable

harm amounts to good cause. See Robinson v. Labrador, No. 24-cv-306, 2024 WL 4953686, at *1–

2 (D. Idaho Dec. 3, 2024) (noting that court granted motion to expedite consideration of motion to

renew a preliminary injunction soon to expire). Moreover, rather than waiting for a change in

position by the government in United States v. Idaho, Plaintiff brings this Motion now to allow

reasonable time for the Court to order briefing and hear arguments in advance of any such change.

        Thus, to avoid any lapse in time during which the Idaho law is not enjoined, St. Luke’s

respectfully requests that the Court set a schedule that would allow for entry of an injunction in this

matter prior to the lifting of any injunction in United States v. Idaho.




PLAINTIFF’S MOTION TO EXPEDITE - 2
DATED: January 14, 2025              STOEL RIVES LLP



                                     /s/ Wendy J. Olson
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PLAINTIFF’S MOTION TO EXPEDITE - 3
